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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                CINCINNATTI DIVISION


HUNTER DOSTER, et al.,
                                Plaintiffs,                               No. 1:22-cv-00084
                                                                      Hon. Matthew W. McFarland
        v.
FRANK KENDALL, et al.,


                                Defendants.


  DEFENDANTS’ RESPONSE REGARDING ONGOING PROCEEDINGS UNDER
            THE UNIFORM CODE OF MILITARY JUSTICE

        Defendants submit this notice in response to the Court’s request that the Air Force provide

“within 7 days” a list of “any court-martials that are in process” based on a class member’s refusal to

comply with an order to receive a COVID-19 vaccine “in which the members have been sworn or a

witness having been sworn such that jeopardy has attached.” Order, ECF No. 77, PgID #4540.

        Defendants respond that they are not aware of any ongoing court-martial related to a refusal

to receive a COVID-19 vaccine that involves a class member, however there are approximately 23

ongoing proceedings authorized by the Uniform Code of Military Justice (10 U.S. Code, Ch. 47,

“UCMJ”) related to a refusal to receive a COVID-19 vaccine that involve a class member. All of

those known, ongoing proceedings are under 10 U.S.C. § 815 (Article 15) of the UCMJ, which author-

izes non-judicial punishment. Any member subject to Article 15 punishment has the right to turn

down the Article 15 action and demand trial by court-martial. See 10 U.S.C. § 815(a). All members

participating in Article 15 actions voluntarily waived their right to court-martial and accepted the Ar-

ticle 15 proceedings. The identities of individuals subject to non-judicial punishment is confidential,

so the Defendants can provide a list of individuals currently subject to Article 15 punishment under

seal at the Court’s request.

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Dated: August 3, 2022                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On August 3, 2021, I electronically submitted the foregoing document using the Court’s elec-

tronic case filing system. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                       /s/ Zachary A. Avallone
                                                       Zachary A. Avallone
                                                       Trial Attorney
                                                       U.S. Department of Justice
